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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

USA-HALAL CHAMBER OF                          )
COMMERCE, INC., a Maryland                    )
corporation                                   )
                                              )      1:19 C 4693
        Plaintiff,                            )      Hon. Marvin E. Aspen
                                              )
                v.                            )
                                              )
BEST CHOICE MEATS, INC.,                      )
an Illinois corporation                       )
                                              )
        Defendant.                            )

                                             ORDER

MARVIN E. ASPEN, District Judge:


        On August 14, 2019, we granted Plaintiff, USA-Halal Chamber of Commerce, Inc.

(“USA Halal”), a temporary restraining order (Dkt. No. 24) and ordered USA-Halal to post a

security in the amount of $95,000 no later than August 26, 2019. Plaintiff requested addition

time to post the security because of ongoing settlement negotiations with Defendant, Best Choice

Meats, Inc. (Dkt. No. 27.) We granted Plaintiff an extension of time to post a security until

September 25, 2019. (Dkt. No. 29.) September 25th has now passed and Plaintiff has not posted

the required security.

        We hereby order the Plaintiff to provide a written update regarding the status of

settlement negotiations and its reason for delay in posting a security on or before October 1,

2019.

It is so ordered.


                                                     ___________________________________
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                                            Honorable Marvin E. Aspen
                                            United States District Judge
Dated: September 26, 2019
       Chicago, Illinois
